 Case: 2:24-cv-00072-DCR-CJS            Doc #: 163 Filed: 02/27/25          Page: 1 of 4 - Page
                                           ID#: 5739


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY
                          COVINGTON DIVISION
  STATE OF TENNESSEE,
  COMMONWEALTH OF KENTUCKY,
  STATE OF OHIO, STATE OF INDIANA,
  COMMONWEALTH OF VIRGINIA, and
  STATE OF WEST VIRGINIA,

         Plaintiffs,

  and                                                Case No. 2:24-cv-00072-DCR-CJS
                                                     District Judge Danny C. Reeves
  CHRISTIAN EDUCATORS ASSOCIA-                       Magistrate Judge Candace J. Smith
  TION INTERNATIONAL, and A.C., by
  her next friend and mother, Abigail Cross,

         Intervenor-Plaintiffs,


  v.

  DENISE CARTER, in her interim official
  capacity as Secretary of Education, and
  UNITED STATES DEPARTMENT OF
  EDUCATION,

         Defendants.

          THE STATES’ NOTICE OF INTENTION TO FILE AN OPPOSITION TO
               MOTIONS OF PROPOSED INTERVENOR-DEFENDANT


        On February 26, 2025, a nonprofit organization called A Better Balance filed a Motion to

Intervene in this action for purposes of taking an appeal, Doc. # 152, as well as a Motion for

Extension of Time to File a Notice of Appeal, Doc. # 153. A Better Balance also has requested

expedited consideration and disposition of its motions; most relevant here, it requests that this

Court resolve the motion to intervene by March 6, 2025 should the Court not grant the

requested extension of the appeal deadline. See Doc. # 153, at 5.


                                                 1
 Case: 2:24-cv-00072-DCR-CJS               Doc #: 163 Filed: 02/27/25            Page: 2 of 4 - Page
                                              ID#: 5740


        Consistent with the pending filings’ representations, the Plaintiff-States previously informed

A Better Balance that they oppose both motions. Although the default 21-day response time would

otherwise apply, the Plaintiff-States respectfully write to inform the Court that they intend to file a

consolidated opposition to the motions no later than 12:00pm on Thursday, March 6, 2025.



        Dated: February 27, 2025                            Respectfully Submitted,

RUSSELL COLEMAN                                             JONATHAN SKRMETTI
 Attorney General                                            Attorney General and Reporter

/s/ Justin D. Clark                                         /s/ Whitney D. Hermandorfer
JUSTIN D. CLARK                                             J. MATTHEW RICE*
   Civil Chief                                                 Solicitor General
VICTOR B. MADDOX                                            WHITNEY D. HERMANDORFER*
   Counsel for Special Litigation                              Director of Strategic Litigation
LINDSEY R. KEISER                                           STEVEN J. GRIFFIN*
   Assistant Attorney General                                  Senior Counsel for Strategic Litigation &
Kentucky Office of the Attorney General                     Assistant Solicitor General
700 Capital Avenue, Suite 118                               VIRGINIA N. ADAMSON*
Frankfort, Kentucky 40601                                      Counsel for Strategic Litigation &
(502) 696-5300                                              Assistant Solicitor General
victor.maddox@ky.gov                                        Office of the Tennessee Attorney General
justind.clark@ky.gov                                        P.O. Box 20207
lindsey.keiser@ky.gov                                       Nashville, Tennessee 37202
                                                            (615) 741-3491
Counsel for the Commonwealth of Kentucky                    matt.rice@ag.tn.gov
                                                            whitney.hermandorfer@ag.tn.gov
                                                            steven.griffin@ag.tn.gov
                                                            jenna.adamson@ag.tn.gov

                                                            Counsel for the State of Tennessee




                                                  2
 Case: 2:24-cv-00072-DCR-CJS               Doc #: 163 Filed: 02/27/25         Page: 3 of 4 - Page
                                              ID#: 5741


THEODORE E. ROKITA                                       DAVE YOST
 Attorney General                                         Attorney General

/s/ James A. Barta                                       /s/T. Elliot Gaiser
JAMES A. BARTA*                                          T. ELLIOT GAISER*
  Solicitor General                                        Solicitor General
CORRINE L. YOUNGS*                                       MATHURA SRIDHARAN*
  Policy Director and Legislative Counsel                  Deputy Solicitor General
JOSHUA DAVID*                                            Office of the Ohio Attorney General
  Deputy Attorney General - Policy                       30 East Broad Street, 17th Floor
Indiana Attorney General’s Office                        Columbus, Ohio 43215
IGCS – 5th Floor                                         (614) 466-8980
302 W. Washington St.                                    thomas.gaiser@ohioago.gov
Indianapolis, IN 46204                                   mathura.sridharan@ohioago.gov
(317) 232-0709                                           Counsel for the State of Ohio
james.barta@atg.in.gov
corrine.youngs@atg.in.gov
joshua.david@atg.in.gov

Counsel for the State of Indiana


JASON S. MIYARES                                         JOHN B. MCCUSKEY
  Attorney General                                        Attorney General

/s/ Kevin M. Gallagher                                   /s/ Michael R. Williams
KEVIN M. GALLAGHER*                                      MICHAEL R. WILLIAMS*
  Principal Deputy Solicitor General                       Solicitor General
Virginia Attorney General’s Office                       Office of the West Virginia Attorney General
202 North 9th Street                                     State Capitol, Bldg. 1, Room E-26
Richmond, Virginia 23219                                 1900 Kanawha Blvd. E.
(804) 786-2071                                           Charleston, West Virginia 25305
kgallagher@oag.state.va.us                               304-558-2021
                                                         michael.r.williams@wvago.gov
Counsel for the Commonwealth of Virginia
                                                         Counsel for the State of West Virginia



*Admitted pro hac vice




                                                  3
 Case: 2:24-cv-00072-DCR-CJS              Doc #: 163 Filed: 02/27/25          Page: 4 of 4 - Page
                                             ID#: 5742


                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of February 2025 a true and correct copy of the foregoing

document was served on all counsel of record via the Court’s electronic filing system, which provided

copies of the foregoing to all counsel of record.

                                                        /s/ Whitney D. Hermandorfer________
                                                        WHITNEY D. HERMANDORFER




                                                    4
